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UNITED STATES OF AMERICA,
Plaintiff,
vs. CR. NO. 05-20048-02-Ma

EWELL COOPER HAYNES,

Defendant.

 

ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on July 22, 2005, the United
States Attorney for this district appearing for the Government and
the defendant, Ewell Cooper Haynes, appearing in person and with
retained counsel, Mr. Paul Conley, III.

With leave of the Court, the defendant entered a plea of
guilty to Count 3 of the Indictment. Plea colloquy was held and
the Court accepted the guilty plea.

Sentencing in this matter is set for Friday, October 21, 2005
at 11200 a.m.

The defendant may remain on his present bond pending
sentencing.

ENTERE:: this the 7(‘ H\ day cf July, 2005.

SAMUEL H. MAYS, JR.
UNITED S'I‘ATES DISTRICT JUDGE

 

This comment entered on the docket Sheet in compliance
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U.S. ATTORNEY'S OFFICE
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Honorable Samuel Mays
US DISTRICT COURT

